Case 1:19-cv-02639-PAB-NYW Document 101 Filed 06/18/20 USDC Colorado Page 1 of 6




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   Civil Action No. 19-cv-02639-PAB-NYW

   JOHN PAULSON, an individual,

   Plaintiff,

   v.

   TWO RIVERS WATER AND FARMING COMPANY, a Colorado corporation; JOHN R.
   MCKOWEN, an individual; WAYNE HARDING, an individual; and TIMOTHY BEALL, an
   individual,

   Defendants.
   _____________________________________________________________________________

    JOINT MOTION TO STAY ALL OUTSTANDING MOTIONS PRACTICE PENDING
                             JULY 21, 2020 MEDIATION
   _____________________________________________________________________________

           Pursuant to the Order of Magistrate Judge Nina Y. Wang [ECF No. 100], Plaintiff John

   Paulson and Defendants Two Rivers Water and Farming Company, John R. McKowen, Wayne

   Harding and Timothy Beall, by and through their respective counsel, hereby submit the following

   Joint Motion to Stay All Outstanding Motions Practice Pending Mediation to the Honorable Philip

   A. Brimmer:

           Certification of Compliance with D.C.COLO.LCivR 7.1(a): Prior to filing this Motion,

   counsel for the parties conferred in good faith and unanimously stipulate that a temporary stay of

   motions practice currently outstanding before the Presiding Judge, the Honorable Philip A.

   Brimmer, pending mediation scheduled with the Hon. Bill Meyer (Ret.) on July 21, 2020, will

   enhance the chances of a successful mediation and, thus, stands to promote judicial efficiency.

           Certification of Compliance with D.C.COLO.LCivR 6.1(c): Undersigned counsel certify
Case 1:19-cv-02639-PAB-NYW Document 101 Filed 06/18/20 USDC Colorado Page 2 of 6




   that their respective clients will receive a copy of this Joint Motion.

          1.      The parties have filed several motions that are currently outstanding, namely: (1)

   Defendant John McKowen’s Motion to Dismiss Certain Claims in Plaintiff’s Amended

   Complaint [DKT 73] (2) Defendant Timothy Beall’s Unopposed Motion to Set Aside the Clerk’s

   Entry of Default [ECF No. 94] and (3) Defendant Timothy Beall’s Motion to Dismiss for Failure

   to State a Claim [ECF No. 96].

          2.      On June 16, 2020, the parties timely filed a joint motion to stay all proceedings,

   including motions practice, and to extend the deadlines for discovery cut-off and to file motions

   under Fed. R. Civ. P. 23 [ECF No. 98].

          3.      On June 17, 2020, Magistrate Judge Nina Y. Wang issued a text Order granting

   relief as to the discovery cut-off and the deadline to file motions pursuant to Fed. R. Civ. P. 23

   and directing the parties to seek a stay of outstanding motions practice from the Presiding Judge,

   the Honorable Philip A. Brimmer.

          4.      The parties have agreed that, at this time, their efforts are better put towards

   attempting to reach a settlement, than incurring expense related to litigating this matter. A

   mediation among all parties with the Hon. Bill Meyer (Ret.) of Judicial Arbiter Group, Inc. is

   scheduled for July 21, 2020. Based on Judge Meyer’s schedule, this was the earliest date

   available.

          5.      By this Joint Motion, the parties seek to temporarily stay all outstanding motions

   practice currently pending before Judge Brimmer until July 27, 2020.

          6.      The Parties believe that the requested stay may obviate the need for a ruling on the

   pending and upcoming motions, and otherwise enhance the prospects for a successful mediation.


                                                     2
Case 1:19-cv-02639-PAB-NYW Document 101 Filed 06/18/20 USDC Colorado Page 3 of 6




           7.      As such, the parties request the Court enter an Order staying all pending motions

   practice until July 27, 2020, at which point the parties will (i) notify the Court of the results of the

   mediation and, if mediation is not successful, request a ruling on Mr. McKowen’s Motion to

   Dismiss [Dkt. 73] and (ii) meet and confer regarding deadlines for the currently pending motions

   that require additional responses or briefing, namely Mr. Beall’s Unopposed Motion to Set Aside

   the Clerk’s Entry of Default [ECF No. 94] and Motion to Dismiss for Failure to State a Claim

   [ECF No. 96].

           8.      This request is not sought for the purpose of delay, and good cause exists to

   temporarily stay pending motions practice, as discussed herein.

           WHEREFORE, the parties respectfully request this Honorable Court temporarily stay

   currently pending motions practice in this proceeding until July 27, 2020.


           Respectfully submitted this 18th day of June, 2020.



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                                                      3
Case 1:19-cv-02639-PAB-NYW Document 101 Filed 06/18/20 USDC Colorado Page 4 of 6




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                                                4
Case 1:19-cv-02639-PAB-NYW Document 101 Filed 06/18/20 USDC Colorado Page 5 of 6




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                                           5
Case 1:19-cv-02639-PAB-NYW Document 101 Filed 06/18/20 USDC Colorado Page 6 of 6




                                   CERTIFICATE OF SERVICE
          I hereby certify that on the 18th day of June, 2020, a true and correct copy of the foregoing
   has been filed and served electronically via CM/ECF, and those not registered with CM/ECF will
   receive service via email, as indicated:

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                                                    6
